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                     EXHIBIT 6
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                               Exhibit 6: Exemplary Claim Chart for U.S. Patent No. 11,114,194
                                          CRISP Event Notification Delivery (CEND)


             ’194 Patent, claim:         CRISP Event Notification Delivery (CEND) – Exemplary Infringement Evidence
     1       A method comprising:        To the extent the preamble is limiting, CEND is configured to perform a method comprising the steps
[preamble]                               outlined below, and has been used and/or will be used to perform the steps outlined below.
   1[a]      electronically receiving,   CEND is configured to (and performs a method to) electronically receive, with a notification system
             with a notification         including a computer processor and memory networked with a plurality of distinct healthcare
             system including a          information sources, healthcare information in several different formats dependent on hardware
             computer processor and      and/or software used by a computer of the sources from the plurality of distinct healthcare
             memory networked with       information sources and including treatment details for patients at a first healthcare provider and a
             a plurality of distinct     second healthcare provider.
             healthcare information
             sources, healthcare         CEND, a notification system that necessarily includes a processor and memory, is configured to be
             information in several      networked with multiple sources of healthcare information, including various healthcare providers
             different formats           like hospitals, labs, etc. CEND receives healthcare information from these various providers,
             dependent on hardware       including treatment details. See, e.g.,
             and/or software used by
             a computer of the
             sources from the
             plurality of distinct
             healthcare information
             sources and including
             treatment details for
             patients at a first
             healthcare provider and
             a second healthcare
             provider;




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           Ex. 8, CRISP Population Explorer Filtering Webinar, at 3 (also available at
           https://www.crisphealth.org/wp-content/uploads/2024/05/CRISP-MD-Webinar-Oct-24-Slides.pdf).




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           See Ex. 9, Data Quality at Scale Rapidly Evolving and Expanding our Master Patient Index with
           Large Datasets PowerPoint, at 4 (showing receipt of information from sources such as the Health
           Department Systems, Hospitals, Clinics, etc.).




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           Ex. 9 at 11 (showing CEND receiving information from multiple providers, including ADT messages
           regarding hospitalizations and information from other providers).

           See also:




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           Ex. 10, CEND Overview PowerPoint, at 11 (also available at https://www.crisphealth.org/wp-
           content/uploads/2024/05/CEND-Overview.pdf).




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           Ex. 10 at 18-19.

           On information and belief, CEND receives healthcare information from the various healthcare
           information sources described above in several different formats dependent on hardware and/or
           software used by each healthcare information source. See, e.g.:




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                                 Ex. 11, Population Explorer User Guide, at 20.


1[b]   parsing, with the         CEND is configured to (and performs a method to) parse with the computer processor, the healthcare
       computer processor, the   information for HL7 Admit-Discharge-Transfer (ADT) messages and store patient-identifying
       healthcare information    information in a standardized format from the HL7 ADT messages in the memory.
       for HL7 Admit-
       Discharge-Transfer        CEND receives ADT messages, which, on information and belief, are HL7 formatted, from the
       (ADT) messages and        various healthcare information sources it is networked with, as shown below:
       storing patient-
       identifying information

                                                           7
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in a standardized format
from the HL7 ADT
messages in the
memory;




                       Ex. 9 at 11.

                       CEND parses the received ADT messages and stores them in its database called the Master Patient
                       Index. See, e.g.:




                                                 8
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           See Ex. 9 at 4 (showing receipt of information from sources such as the Health Department Systems,
           Hospitals, Clinics, etc. which is then converted and normalized before being stored in the Master
           Person Index).

           CEND stores patient identifying information in a standardized format in the Master Person Index as
           shown below. See, e.g.:




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           Ex. 10 at 11;




                                  10
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                               Ex. 10 at 18-19.




                               See also Ex. 8 at 9.
1[c]   determining, with the   CEND is configured to (and performs a method to) determine with the computer processor, from the
       computer processor,     stored patient-identifying information, a readmission time for a patient by comparing a first HL7
                                                         11
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from the stored patient- ADT message indicating admission of the patient at the first healthcare provider against a second
identifying information, HL7 ADT message for the patient, wherein the readmission time is a difference in time between the
a readmission time for a first HL7 ADT message and the second HL7 ADT message.
patient by comparing a
first HL7 ADT message As described in Claim 1[a], CEND necessarily requires a processor. CEND receives, parses, and
indicating admission of stores information about patients that includes admit dates and times, demographic information, care
the patient at the first providers, etc. CEND’s Population Explorer is a module that allows for interaction with CEND’s
healthcare provider      Master Patient Index, a database that stores the aforementioned demographic information and other
against a second HL7     information relevant to patients’ care. The Population Explorer allows for filtering based on several
ADT message for the      categories of information, including the patient’s admit dates and times. See, e.g.,
patient, wherein the
readmission time is a
difference in time
between the first HL7
ADT message and the
second HL7 ADT
message;




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           Ex. 8 at 32-34.

           See also:




           Ex. 10 at 18 (showing how patient information is stored and displayed in the Population Explorer
           which includes a field for “Admit Date/Time”).

           On information and belief, CEND, using a processor, determines a readmission time by comparing
           the Admit Date/Time from the message indicating admission of the patient at the first healthcare
           provider against a second Admit Date/Time from a second message for the patient. CEND
           documentation shows that the Population Explorer can filter data by a category called “Readmission
           Inpatient,” suggesting CEND keeps track of readmissions. See, e.g.:




                                     14
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                                   See also Ex. 11 at 19.


1[d]   generating in real-time     CEND is configured to (and performs a method to) generate in real-time with receipt of the first HL7
       with receipt of the first   ADT message, with the computer processor, a readmission notification for the patient and transmit
       HL7 ADT message,            the notification to the first healthcare provider so that the first healthcare provider has immediate
       with the computer           access to up-to-date patient information.
       processor, a readmission
       notification for the        On information and belief, a readmission notification based on the admission date and time (as
       patient and transmitting    discussed above in Claim 1[c]) is triggered and generated when the first HL7 ADT message is
       the notification to the     received. CEND generates and provides real-time notifications of patients’ encounters, including
       first healthcare provider   notifications about admitting, transferring and discharging patients in HL7 format. CEND’s
       so that the first           Population Explorer Module is described as having notifications that result from “encounters” which
       healthcare provider has     are analogous to visits or admissions and also has a filter for notifications based on a “Readmission
       immediate access to up-     Inpatient.” See, e.g.,:
       to-date patient
       information, wherein the
                                                             15
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generating is executed
if,




                      Ex. 8 at 4.




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           See also Ex. 11 at 19.




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           Ex. 11 at 15.




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           Ex. 1012, Population Explorer Fact Sheet (also available at https://www.crisphealth.org/wp-
           content/uploads/2024/11/Population-Explorer-Fact-Sheet-11.7.24.pdf).




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                                     See also Ex. 11 at 3.



1[d][i]   the readmission time is    CEND is configured to (and performs a method to) generate in real-time with receipt of the first HL7
          within a readmission       ADT message, with the computer processor, a readmission notification wherein the readmission time
          time threshold stored in   is within a readmission time threshold stored in the memory.
          the memory, and
                                     On information and belief, the CEND system has a threshold readmission time. As shown above, for
                                                               20
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            Claims 1[c] and 1[d], CEND stores information that includes a patient’s Admission Date and Time
            and upon receipt of a new ADT message, a readmission time can be determined. On information and
            belief, CEND includes a readmission time threshold to determine whether to characterize an
            additional visit or encounter as a readmission. See, e.g.:




             Ex. 12.




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           Ex. 8 at 32-34.




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                                      See also Ex. 10 at 18.


1[d][ii]   the patient-identifying    CEND is configured to (and performs a method to) generate in real-time with receipt of the first HL7
           information indicates      ADT message, with the computer processor, a readmission notification wherein the patient-
           the first HL7 ADT          identifying information indicates the first HL7 ADT message and the second HL7 ADT message
           message and the second     identify a same patient.
           HL7 ADT message
           identify a same patient.   On information and belief, the CEND system generates a readmission notification when a threshold
                                      readmission time has been met and the patient-identifying information indicates that two HL7 ADT
                                      messages identify the same patient. As described above in Claims 1[c], 1[d], and 1[d][i], CEND
                                      stores patient information that includes a patient’s Admit Date/Time from which the CEND system
                                      can determine the difference in those times and whether the admission qualifies as a readmission. To
                                      make this determination, the initial ADT message and the second ADT message would have to refer
                                      to the same person. As shown below, CEND stores patient identifying information such that it can
                                      compare patient identifying information between two ADT messages. See, e.g.,.


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           Ex. 8 at 36-37.




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           See also Ex. 10 at 20.




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                                        See also Ex. 10 at 18.


    10       A method comprising:       To the extent the preamble is limiting, CEND is configured to perform a method comprising the steps
[preamble]                              outlined below, and has been used and/or will be used to perform the steps outlined below.
   10[a]     storing information in a   CEND is configured to (and performs a method to) store information in a standardized format about a
             standardized format        patient’s condition from a first HL7 Admit-Discharge-Transfer (ADT) message in a network-based
             about a patient's          non-transitory storage device storing a collection of medical records.
             condition from a first
             HL7 Admit-Discharge-       CEND stores information about patients in a Master Person Index which is a database of healthcare
             Transfer (ADT)             and identifying information. The Population Explorer Module provides a way to access and display
             message in a network-      information from the database. The Population Explorer allows filtering of the database based on
             based non-transitory       specific data fields that are standardized. See, e.g.,:
             storage device storing a
             collection of medical
             records;


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           See Ex. 9 at 4.




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                                   Ex. 8 at 32-37.



10[b]   providing remote access    CEND is configured to (and performs a method to) provide remote access to a plurality of
        to a plurality of          independently-operated healthcare providers over a network so any one of the providers can provide
        independently-operated     a plurality of pieces of healthcare information generated by the plurality of healthcare providers
        healthcare providers       through a computer of a provider updating the information about the patient’s condition, wherein the
        over a network so any      pieces of healthcare information include at least two thousand pieces of healthcare information
        one of the providers can   generated in a day and are not in the standardized format and dependent on hardware and/or software
        provide a plurality of     used by the computer of the provider.
        pieces of healthcare
        information generated      CEND is a system that is networked with various providers/sources of healthcare information. The
        by the plurality of        information is necessarily provided by each source/healthcare provider through a computer as it is all
        healthcare providers       stored in CEND’s digital Master Person Index database. On information and belief, the format of the
        through a computer of a    information will be dependent on the provider’s software and hardware on the computer. On
        provider updating the      information and belief, and given the number of patients healthcare providers service daily, the
        information about the      information will include at least two thousand pieces of healthcare information generated daily. The
        patient's condition,       Population Explorer module shows that the information will include information about the patient’s
        wherein the pieces of      condition. See, e.g.:
        healthcare information
                                                             33
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include at least two
thousand pieces of
healthcare information
generated in a day and
are not in the
standardized format and
dependent on hardware
and/or software used by
the computer of the
provider;




                       See Ex. 9 at 4.




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           See Ex. 9 at 10.




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           Ex. 8 at 3.




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                                   Ex. 8 at 32-37.


10[c]   parsing, with a computer CEND is configured to (and performs a method to) parse with the computer processor, the plurality
        processor in the         of pieces of healthcare information for HL7 ADT messages for the patient.
        notification system, the
        plurality of pieces of   See above Claim 1[b].
        healthcare information
        for HL7 ADT messages
        for the patient;

10[d]   storing a second HL7       CEND is configured to (and performs a method to) store a second HL7 ADT message for the patient
        ADT message for the        from the HL7 ADT messages for the patient in the standardized format in the notification system.
        patient from the HL7
        ADT messages for the       The CEND system stores received information, including HL7 ADT messages, in a standardized
        patient in the             format. See above Claim 1[b]; see also:
        standardized format in
        the notification system;



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           See Ex. 9 at 10.

           Further, CEND parses healthcare information for HL7 Admit-Discharge-Transfer messages and
           stores patient identifying information in a standardized format from the HL7 ADT messages in the
           memory. For example, CEND stores patient information in its Master Person Index or “MPI”:




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           Ex. 9 at 11.




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            See also Ex. 10 at 11;




           Ex. 10 at 18-19.




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                                   See also Ex. 8 at 9.
10[e]   comparing, with the        CEND is configured to (and performs a method to) compare with the computer processor in the
        computer processor in      notification system, the first HL7 ADT message of the pieces of healthcare information against the
        the notification system,   second HL7 ADT message of the pieces of information to determine a discharge and a later
        the first HL7 ADT          admission of the patient and a readmission time for the patient that is a difference in time between the
        message of the pieces of   first HL7 ADT message and the second HL7 ADT message.
        healthcare information
        against the second HL7     CEND has a Population Explorer module that facilitates real time encounter, logic-based, and
        ADT message of the         preventative services notifications from CRISP Share Services, as well as functionality to filter, view
        pieces of information to   details, track notification status, and export notifications of interest. It allows filtering of data
        determine a discharge      including HL7 ADT messages and patient admission times. As described above with reference to
        and a later admission of   claim 1, the CEND system stores admission and discharge times. On information and belief, CEND
        the patient and a          compares the information from the two received HL7 ADT messages and determines whether a
        readmission time for the   patient’s new admission is considered a “readmission.”
        patient that is a
        difference in time         See above for Claims 1[c], 1[d], 1[d][i], and 1[d][ii] .

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           between the first HL7
           ADT message and the
           second HL7 ADT
           message; and

 10[f]     automatically generating    CEND is configured to (and performs a method to) automatically generate and transmit with the
           and transmitting, with      computer processor in the notification system, to a computer of the healthcare provider that generated
           the computer processor      the second HL7 ADT message a readmission notification in real-time with the second HL7 ADT
           in the notification         message being received, wherein the readmission notification identifies the readmission based on the
           system, to a computer of    comparing so the healthcare provider has immediate access to up-to-date patient information.
           the healthcare provider
           that generated the          CEND automatically generates and transmits to a healthcare provider that generated the second HL7
           second HL7 ADT              ADT message real-time notifications of patients’ encounters, including notifications about an
           message a readmission       admission that qualifies as a readmission based on comparing from Claim 10[e].
           notification in real-time
           with the second HL7         See above for Claims 1[c] and 1[d].
           ADT message being
           received, wherein the
           readmission notification
           identifies the
           readmission based on
           the comparing so the
           healthcare provider has
           immediate access to up-
           to-date patient
           information, wherein the
           generating and
           transmitting is executed
           if,

10[f][i]   the readmission time for    CEND is configured to (and performs a method to) automatically generate and transmit to a
           the patient is within a     computer of the healthcare provider that generated the second HL7 ADT message a readmission
           readmission time            notification in real-time with the second HL7 ADT message being received wherein the readmission
           threshold stored in a       time is within a readmission time threshold stored in the memory.
           memory.
                                       On information and belief, the CEND system has a threshold readmission time.

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                                See above for Claim 1[d][i].

13   The method of claim 10,    CEND is configured to perform, and performs, the method of claim 10, wherein the plurality of
     wherein the plurality of   healthcare providers are distinctly located, owned, and controlled from each other and the computer
     healthcare providers are   processor, and wherein the plurality of healthcare providers are connected to a same health
     distinctly located,        information exchange.
     owned, and controlled
     from each other and the    The CEND system is networked with various healthcare providers/sources of healthcare information.
     computer processor, and    On information and belief, each of these various providers/sources of healthcare information are
     wherein the plurality of   distinctly located, owned and controlled from each other and connected to the same health
     healthcare providers are   information exchange. See, e.g.:
     connected to a same
     health information
     exchange.




                                See Ex. 9 at 4 (showing input of healthcare information from a variety of sources).




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           See Ex. 9 at 10.




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                                      Ex. 8 at 3.

    16       A notification system    CEND is a notification system networked among several independent data feeds.
[preamble]   networked among
             several independent data CEND receives and sends data from/to various sources of healthcare information and various
             feeds, the system        healthcare providers, in various formats. See, e.g.:
             comprising:




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           See Ex. 9 at 4.




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           See Ex. 9 at 10.




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                                     Ex. 8 at 3.

16[a]   a first interface            CEND has a first interface configured to read healthcare information in a first protocol from a first
        configured to read           healthcare provider.
        healthcare information
        in a first protocol from a   The CEND system receives and reads information from various healthcare information sources. For
        first healthcare provider;   example:




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           See Ex. 9 at 4.




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           See Ex. 9 at 10.




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           Ex. 8 at 3.

           CEND has a Population Explorer module that reads and stores data. It allows filtering of data
           including HL7 ADT messages and patient admission times. For example:




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           Ex. 8 at 32-37.




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                                    See also Ex. 10 at 18.



16[b]   a second interface          CEND has a second interface configured to read healthcare information in a second protocol from a
        configured to read          second healthcare provider, wherein the first and the second protocols are different health record
        healthcare information      standards.
        in a second protocol
        from a second               On information and belief, CEND receives data from different healthcare information sources that
        healthcare provider,        use different health record standards. In addition to the received and read data described in Claim
        wherein the first and the   16[a], CEND and its Population Explorer module can receive data from other data sources separate
        second protocols are        from ADT messages, including “CCD” and “Diagnostic Reports.” See, e.g.:
        different health record
        standards;




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                                   Ex. 11 at 20.



16[c]   a third interface          CEND has a third interface configured to instruct a computer at the second healthcare provider to
        configured to instruct a   display a readmission notification.
        computer at the second
        healthcare provider to     CEND has a processing component that instructs the system to generate readmission notifications.
        display a readmission
        notification; and          See above Claims 1[c] and 1[d].


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16[d]   a computer processor       CEND has a computer processor networked with the first and the second healthcare providers via the
        networked with the first first, the second, and the third interfaces.
        and the second
        healthcare providers via The CEND system must necessarily have a processor to perform the reading and parsing of various
        the first, the second, and information it receives. This processor is networked with multiple healthcare providers/sources of
        the third interfaces,      healthcare information as described above in Claims 1[a] and 1[b]. The processer is also networked
        wherein the computer       with the first, second, and third interfaces. See, e.g.,
        processor is configured
        to,




                                  See Ex. 9 at 10 (showing receiving and processing information from various sources).




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                                       Ex. 1009 at 11 (showing the CRISP Identifier receiving information from multiple providers,
                                       including ADT messages regarding hospitalizations and information from other providers).

16[d][i]   electronically read a       CEND electronically reads a plurality of pieces of healthcare information generated by the first and
           plurality of pieces of      the second healthcare providers, wherein the pieces of healthcare information include treatment
           healthcare information      details for patients at the healthcare providers and are in the first and the second protocols.
           generated by the first
           and the second              CEND reads healthcare information from a variety of sources that include treatment details. See, e.g.:
           healthcare providers,
           wherein the pieces of
           healthcare information
           include treatment details
           for patients at the
           healthcare providers and
           are in the first and the
           second protocols,
                                                                 62
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           See Ex. 9 at 4.




                                    63
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           See Ex. 9 at 10.




                                     64
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           Ex. 8 at 3.




                                65
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                                66
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                                67
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                                68
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           Ex. 8 at 32-37.




                                    69
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                                    See also Ex. 10 at 18.


16[d][ii]   parse the healthcare    CEND parses the healthcare information for HL7 ADT Admit-Discharge-Transfer (ADT) messages
            information for HL7     and store patient-identifying information in a standardized format from the HL7 ADT messages in a
            ADT Admit-Discharge-    memory.
            Transfer (ADT)
            messages and store      CEND parses healthcare information for HL7 Admit-Discharge-Transfer messages and stores patient
            patient-identifying     identifying information in a standardized format from the HL7 ADT messages in the memory. CEND
            information in a        receives ADT messages, which, on information and belief, are HL7 formatted, from the various
            standardized format     healthcare information sources it is networked with, as shown below:
            from the HL7 ADT
            messages in a memory,




                                                             70
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           Ex. 9 at 11.

           CEND parses the received ADT messages and stores them in its database called the Master Patient
           Index. See, e.g.:




                                    71
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           See Ex. 9 at 4 (showing receipt of information from sources such as the Health Department Systems,
           Hospitals, Clinics, etc. which is then converted and normalized before being stored in the Master
           Person Index).




                                    72
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           See Ex. 9 at 10 (showing that CRISP processes the input from various sources before storing the
           information in the Master Person Index).

           CEND stores patient identifying information in a standardized format in the Master Person Index as
           shown below. See, e.g.:




                                     73
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           Ex. 10 at 11;




                                  74
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           Ex. 10 at 18-19.




           See also Ex. 8 at 9.



                                     75
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           CEND has a Population Explorer module that allows filtering of data including HL7 ADT messages
           and patient admission times based on stored information. For example:




                                    76
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                                79
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           Ex. 8 at 32-37.




                                    80
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                                        See also Ex. 10 at 18.

16[d][iii]   compare a first HL7        CEND compares a first HL7 ADT message of the pieces of healthcare information indicating a
             ADT message of the         discharge of a patient against a second HL7 ADT message of the pieces of healthcare information
             pieces of healthcare       indicating a later admission of the patient to determine a readmission time for the patient, wherein the
             information indicating a   readmission time is a difference in time between the first HL7 ADT message and the second HL7
             discharge of a patient     ADT message.
             against a second HL7
             ADT message of the         CEND stores information from ADT messages including Admit and Discharge Date/Time. On
             pieces of healthcare       information and belief, CEND can determine a readmission time by comparing a first HL7 ADT
             information indicating a   message’s Admit Date/Time indicating admission of the patient at the first healthcare provider
             later admission of the     against a second HL7 ADT message’s Admit/Date/Time for the patient. See above Claim 1[c].
             patient to determine a
             readmission time for the   Further, CEND’s Population Explorer can filter results based on a type of data called “Readmission
             patient, wherein the       Inpatient” which means that there is a readmission determination. See, e.g.:
             readmission time is a
             difference in time
             between the first HL7
                                                                   81
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            ADT message and the
            second HL7 ADT
            message, and




                                       See also Ex. 11 at 19.
16[d][iv]   instruct a computer of     CEND instructs a computer of one of the first and the second healthcare providers that generated the
            one of the first and the   second HL7 ADT message to display a readmission notification in real-time with the second HL7
            second healthcare          ADT message being received so that the one of the first and the second healthcare providers that
            providers that generated   generated the second HL7 ADT has immediate access to up-to-date patient information, wherein the
            the second HL7 ADT         readmission notification identifies the readmission based on the comparing, wherein the instructing is
            message to display a       executed if, the readmission time for the patient is within a readmission time threshold stored in
            readmission notification   memory.
            in real-time with the
            second HL7 ADT            See above Claims 1[c], 1[d], 1[d][i], and 1[d][ii].
            message being received
            so that the one of the
            first and the second
            healthcare providers that
            generated the second
            HL7 ADT has
            immediate access to up-
                                                                  82
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to-date patient
information, wherein the
readmission notification
identifies the
readmission based on
the comparing, wherein
the instructing is
executed if, the
readmission time for the
patient is within a
readmission time
threshold stored in
memory.




                                             83
